 

Case 2:19-cv-00098-Z Document 8 Filed 10/30/20 Page 1of1—Pagelh £5

 

 

 

 

 

 

 

«S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FILED
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS CcT 30 2
AMARILLO DIVISION
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| CLERK, U.S. DISTRI
LONE STAR BANK OF WEST TEXAS, § By * oc
§ Deputy
Plaintiff, §
§
v. § 2:19-CV-098-Z
7 § (Adversary No. 18-2007-RLJ)
7 RABO AGSERVICES, INC., §
§
Defendant. §
ORDER

On September 26, 2019 and February 6, 2020, the Bankruptcy Judge filed his Reports and
Recommendations regarding Plaintiff Lone Star’s Motion to Dismiss Defendant’s Counterclaims
(ECF No. 5) and Defendant Rabo’s Motion to Dismiss (ECF No. 6). The parties had fourteen days
to serve and file written objections to the Reports and Recommendations. FED. R. BANKR. P.
9033(b). Because neither party did so, the Court is not required to conduct a de novo review. Id.
| 9033(d); 28 U.S.C. § 157(c)(1). Rather, the Court reviews the Reports to determine whether they
are clearly erroneous or contrary to law. Chacon Farias v. RREF CB SBL Acquisitions, LLC, No.
SA-15-CA-1115-FB, 2016 WL 11586122, at *2 (W.D Tex. July 13, 2016) (citing United States v.
Wilson, 864 F.2d 1219, 1221 (Sth Cir. 1989)). The Court, having independently reviewed the
motions and the record, finds the Reports and Recommendations (ECF Nos. 5-6) should be
ADOPTED in their entirety. Accordingly, the motions to dismiss are DENIED.
SO ORDERED.

October 9, 2020.

 

MATAHEW J. KACSMARYK
UNJTED STATES DISTRICT JUDGE

 

 
